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                                                                         (created 3/20/14)



                      UNITED STATES BANKRUPTCY COURT
                           Southern District of Indiana
                              Indianapolis Division



IN RE: USA GYMNASTICS,                                           Case No. 18-09108-RLM-11

                    Debtor


                             REQUEST FOR TRANSCRIPT


Catherine L. Steege on behalf of Debtor USA Gymnastics hereby request(s)
that a transcript be made of the following:

     Matters and Docket No. : All matters scheduled for 1/22/2020 hearing.

     Date of Hearing: January 22, 2020

     Date Transcript is Needed: January 30, 2020



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*(Note: Signature format acceptable if filed electronically; if not electronically, a
wet signature is required.)
